                               Fourth Court of Appeals
                                      San Antonio, Texas
                                 MEMORANDUM OPINION

                                         No. 04-22-00747-CR

                                        Ricardo GONZALEZ,
                                              Appellant

                                                 v.

                                         The STATE of Texas,
                                               Appellee

                     From the 290th Judicial District Court, Bexar County, Texas
                                   Trial Court No. 2019CR1779
                              Honorable Jennifer Peña, Judge Presiding

Opinion by:       Lori I. Valenzuela, Justice

Sitting:          Luz Elena D. Chapa, Justice
                  Liza A. Rodriguez, Justice
                  Lori I. Valenzuela, Justice

Delivered and Filed: August 21, 2024

AFFIRMED; MOTION TO WITHDRAW GRANTED

           On February 20, 2019, Ricardo Gonzalez was indicted for aggravated robbery enhanced as

a repeater given a previous felony conviction in Webb County, Texas. Gonzalez pled not guilty.

After a four-day trial, the jury found Gonzalez guilty, and the trial court sentenced Gonzalez to

thirty years’ confinement.

           On appeal, Gonzalez’s court-appointed appellate attorney filed a brief in which he

concludes this appeal is frivolous and without merit, and requests to withdraw as counsel. The

brief demonstrates a professional and thorough evaluation of the record and meets the requirements
                                                                                       04-22-00747-CR


of Anders v. California, 386 U.S. 738 (1967) and High v. State, 573 S.W.2d 807 (Tex. Crim. App.

1978). Counsel sent copies of the brief, which included a request to withdraw, to Gonzalez and

informed him of his rights in compliance with the requirements of Kelly v. State, 436 S.W.3d 313
(Tex. Crim. App. 2014). This court notified Gonzalez of the deadline to file a pro se brief. On July

28, 2023, Gonzalez filed a pro se brief.

       We have thoroughly reviewed the record, counsel’s brief, and Gonzalez’s pro se brief. We

find no arguable grounds for appeal exist and have decided the appeal is wholly frivolous. See

Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005); see also Nichols v. State, 954

S.W.2d 83, 85-86 (Tex. App.—San Antonio 1997, no pet.) (per curiam); Bruns v. State, 924

S.W.2d 176, 177 n.1 (Tex. App.—San Antonio 1996, no pet.). We therefore grant the request to

withdraw filed by appointed counsel and affirm the trial court’s judgment. See id.
       No substitute counsel will be appointed. Should Gonzalez wish to seek further review of

this case by the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition

for discretionary review or must file a pro se petition for discretionary review. Any petition for

discretionary review must be filed within thirty days from the date of either this opinion or the last

timely motion for rehearing that is overruled by this court. See TEX. R. APP. P. 68.2. Any petition

for discretionary review must be filed in the Court of Criminal Appeals. See id. 68.3. Any petition

for discretionary review must comply with the requirements of Rule 68.4 of the Texas Rules of

Appellate Procedure. See id. 68.4.


                                                   Lori I. Valenzuela, Justice

DO NOT PUBLISH




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